 Case 2:18-cv-00295-JRG Document 41 Filed 10/20/18 Page 1 of 4 PageID #: 273



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

 SAS INSTITUTE INC.,

      Plaintiff,

        v.

 WORLD PROGRAMMING LIMITED,
 MINEQUEST BUSINESS ANALYTICS,                         Civil Action No. 2:18-cv-00295-JRG
 LLC, MINEQUEST LLC, ANGOSS
 SOFTWARE CORPORATION, LUMINEX
 SOFTWARE, INC., YUM! BRANDS,
 INC., PIZZA HUT, INC., and SHAW
 INDUSTRIES GROUP, INC.,

      Defendants.



                JOINT MOTION TO STAY AND NOTICE OF SETTLEMENT

       Defendant Angoss Software Corporation (“Angoss”) and Plaintiff SAS Institute Inc.

(“SAS”) hereby submit this Joint Motion to Stay All Deadlines and Notice of Settlement and

respectfully show the Court as follows:

       (1) SAS and Angoss have reached a settlement in principle resolving all matters in

             controversy between the parties in the above-referenced action and are in the process

             of drafting and finalizing the settlement papers.

       (2) Accordingly, SAS and Angoss submit that the Court’s resources would best be served

             by a stay of entry of all deadlines in the case with respect to SAS’ claims against

             Angoss for a period of thirty (30) days so that the announced settlement in principle

             may be completed and appropriate dismissal papers thereafter filed with the Court.

       (3) SAS and Angoss jointly agree that Angoss is filing this joint motion in lieu of

             responding to SAS’ Original Complaint, Dkt. No. 1. Angoss’ response to SAS’


                                                   1
 Case 2:18-cv-00295-JRG Document 41 Filed 10/20/18 Page 2 of 4 PageID #: 274



           Original Complaint is a motion to dismiss for lack of personal jurisdiction under

           Federal Rule of Civil Procedure 12(b)(2). SAS and Angoss jointly agree that by

           filing this joint motion in lieu of responding to SAS’ Original Complaint, Angoss has

           not waived its defense of lack of personal jurisdiction under Federal Rule of Civil

           Procedure 12(b)(2), or any other defenses to SAS’ claims that may be asserted by

           motion under Rule 12.

       (4) This Motion does not impact SAS’s claims against any defendant other than Angoss

           in the present action.

       WHEREFORE, SAS and Angoss request the Court grant this Joint Motion to Stay and

Notice of Settlement and enter an Order granting a temporary stay between SAS and Angoss for

a period of thirty (30) days.



Date: October 20, 2018                       Respectfully submitted,

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                                                2
Case 2:18-cv-00295-JRG Document 41 Filed 10/20/18 Page 3 of 4 PageID #: 275



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                                     3
 Case 2:18-cv-00295-JRG Document 41 Filed 10/20/18 Page 4 of 4 PageID #: 276




                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that all counsel of record who are deemed to have consented
to electronic service are being served with a copy of this document via the Court’s CM/ECF system
per Local Rule CV-5(a)(3) this 20th day of October, 2018.

                                              /s/ Jason W. Cook


                             CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that counsel for SAS and counsel for Angoss conferred
and both parties agree to filing this as a joint motion.

                                              /s/ Jason W. Cook




                                                 4
